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                                                                                 FILED
                                                                                  JUL \9 20\2
                         IN THE UNITED STATES DISTRICT COURT       K us DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS sg~;ERr..oisTRICT OF ILUNOIS
                                                                                EAST ST. LOUIS OFFICE
UNITED STATES OF AMERICA,                        )
                                                 )
                               Plaintiff,        )
                                                 )
               vs.                               )
                                                 )
                                                         CRIMINAL NO.\~-       ZtJP t!ffh
ASHLEY C. DRUMMOND, and                          )       Title 18,
SUSAN L. HARRIS,                                 )       United States Code,
                                                 )       Section 1349, 1028A
                               Defendants.       )

                                            INDICTMENT

THE GRAND JURY CHARGES:

                                                 Count 1

                               Conspiracy to Commit Mail Fraud



        1.     From on or about November 14, 2011 through on or about December 5, 2011, in

Madison County and St. Clair County, Illinois, within the Southern District of Illinois and

elsewhere,

                                ASHLEY C. DRUMMOND and

                                       SUSAN L. HARRIS,

defendants herein, did knowingly and intentionally conspire with each other and with other

persons, known and unknown to the Grand Jury to commit an offense against the United States,

namely Mail Fraud in violation of Title 18, United States Code, Section 1341.
                                                 Purpose
       2.      The purpose of the conspiracy was for the defendants to profit by using the

personal identifying information of persons other than themselves to open credit accounts and
use the credit accounts for their own benefit.




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                                        Manner and Means

        3.     At all times relevant to this indictment, ASHLEY C. DRUMMOND was a tech

assistant in the radiology department at a hospital in the Southern District of Illinois (hereinafter

the "Hospital"). DRUMMOND began working at the Hospital in June 2008.

        4.     While employed at the Hospital, DRUMMOND targeted elderly patients and

stole their personal identifying information from hospital charts and from hospital computer

records.

        5.     DRUMMOND did not have access to hospital computer records, so, instead, she

would wait for other hospital employees to walk away from their computers and would then use

their computers to look up patient information.

       6.      After collecting the necessary identifying information from patient records,

DRUMMOND together with SUSAN L. HARRIS used the personal identifying information

belonging to the patients to apply for credit card accounts in their victims' names.

       7.      The credit cards, including aGE Capital Walmart Discover Card obtained using

M.D.'s personal information, were mailed to HARRIS'S home. HARRIS and DRUMMOND

used the fraudulent credit cards to purchase items for their own benefit.



                                             Overt Acts

       8.      In furtherance of the conspiracy to commit an offenses against the United States

and to effect the objects of the conspiracy, one or more of the co-conspirators did various overt

acts in the Southern District of Illinois and elsewhere, including, but not limited to:
               a.      In or about November 2011, DRUMMOND obtained the personal
                       identifying information of M.D., a patient of the Hospital.
               b.      In or about November 2011, an online application was submitted for aGE
                       Capital Walmart Discover Card using M.D.'s personal identifying
                       information. The online application listed HARRIS'S home address as the


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                      mailing address. The online application also listed HARRIS'S e-mail

                      address and telephone number as the contact information.

       9.      On or about November 16, 2011, in Madison County and St. Clair County,

Illinois, within the Southern District of Illinois, the defendants, ASHLEY C. DRUMMOND

and SUSAN L. HARRIS, for the purpose of executing or attempting to execute the above-

described scheme and artifice to defraud and deprived, knowingly caused to be delivered by the

United States Postal Service the following matter: aGE Capital Walmart Discover Card.

       All in violation ofTitle 18, United States Code, Section 1349.



                                            COUNT2

                                   Aggravated Identity Theft

       10.    On or about November 16,2011, in the Southern District of Illinois,

                                 ASHLEY C. DRUMMOND,

defendant herein, did knowingly use, without lawful authority, a means of identification, to wit:

the name, date of birth and Social Security Number of another person (initials M.D.), during and

in relation to the crime of Mail Fraud in violation of Title 18 United States Code, Section 1341,

as charged in Count 1 of this Indictment.

       All in violation of Title 18, United States Code, Section 1028A.

                                            COUNT3

                                   Aggravated Identity Theft

       11.    On or about November 16,2011, in the Southern District of Illinois,

                                      SUSAN L. HARRIS,

defendant herein, did knowingly use, without lawful authority, a means of identification, to wit:

the name, date of birth and Social Security Number of another person (initials M.D.), during and



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in relation to the crime of Mail Fraud in violation of Title 18 United States Code, Section 1341,

as charged in Count 1 of this Indictment.

       All in violation of Title 18, United States Code, Section I 028A.



                                                    A TRUE BILL




Assistant United States Attorney




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United States Attorney

Recommended Bond: $10,000 unsecured




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